                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                               3:12-cr-97-MOC-DCK-1

UNITED STATES OF AMERICA,              )
                                       )
            vs.                        )
                                       )                                ORDER
LAVONTE LAMONT HALLMAN                 )
                                       )
                  Defendant.           )
_______________________________________)

         THIS MATTER comes before the Court on Defendant’s pro se Motion for Compassionate

Release and Reduction of Sentence. (#149).

         Having reviewed Defendant’s Motion, the Court finds that a response from the

Government is needed to fully consider their merits. Accordingly, the Court enters the following

Order.

                                             ORDER

         IT IS, THEREFORE, ORDERED that the Government SHALL RESPOND to

Defendant’s Motion for Compassionate Release and Reduction of Sentence (#149) within 20 days

of the entry of this Order.



                                                 Signed: July 8, 2022




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